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                                                                                (SPACE BELOW FOR FILING STAMP ONLY)
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 3   PHONE (559) 233-2900
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 4

 5
     ATTORNEYS FOR Defendant,
 6                   JOSEPH MAR

 7

 8                                UNITED STATES DISTRICT COUNT
 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           Case No: 1:14-CR-00226–AWI-BAM
11
                    Plaintiffs,
12                                                               WAIVER OF APPEARANCE
13          v.                                                           AND
                                                                        ORDER
14   JOSEPH MAR,

15                  Defendants.

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17   TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S
18          OFFICE and/or ITS REPRESENTATIVES:
19
            Defendant, JOSEPH MAR, by and through his attorney MARK W. COLEMAN, of
20
     NUTTALL & COLEMAN, hereby applies to this court for an Order waiving his appearance at
21
     the Status Conference currently set for September 28, 2015 at 1:00 p.m., before Magistrate
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     Judge Barbara A. McAuliffe.
23
            The reason for this request is that Mr. Mar lives in Ceres, California, and does not have
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     any available paid time off with his employer. Mr. Mar’s sister passed away last month and he
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     had to use all of his available paid time off to be with his family and attend the services.
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            It is not anticipated that anything dispositive will occur on September 28, 2015.
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 1          Mr. Mar has been in continued contact with his attorney, and gives his attorney full

 2   power to act on his behalf. The matter of the Status Conference has been discussed and Mr.
 3   Mar is satisfied that all relative matters have been adequately discussed.
 4          It is hereby requested that Joseph Mar’s appearance at the hearing on September 28,
 5
     2015, at 1:00 p.m. be excused.
 6
     DATED: September 24, 2015.            Respectfully submitted,
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                                           NUTTALL & COLEMAN
 8
                                           /s/ MARK W. COLEMAN
 9
                                           MARK W. COLEMAN
10                                         Attorney for Defendant,
                                           JOSEPH MAR
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                                                 ******
13
                                                  ORDER
14
            GOOD CAUSE APPEARING,
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            IT IS HEREBY ORDERED that Defendant, Joseph Mar, is hereby excused from
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     appearing at the Status Conference currently scheduled for September 28, 2015, at 1:00 p.m.
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18   IT IS SO ORDERED.
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        Dated:     September 24, 2015                         /s/ Barbara A. McAuliffe             _
20                                                        UNITED STATES MAGISTRATE JUDGE
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